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                   19
                                                       UNITED STATES DISTRICT COURT
                   20
                                                 NORTHERN DISTRICT OF CALIFORNIA
                   21

                   22   CITY AND COUNTY OF SAN FRANCISCO,                Case No. 3:24-CV-02311-TSH

                   23                     Plaintiff,                     DECLARATION OF RYAN C. STEVENS IN
                                                                         SUPPORT OF PLAINTIFF’S CITY AND
                   24          v.                                        COUNTY OF SAN FRANCISCO’S
                                                                         ADMINISTRATIVE MOTION TO CONTINUE
                   25   CITY OF OAKLAND AND PORT OF                      HEARING ON DEFENDANT CITY OF
                        OAKLAND,                                         OAKLAND’S MOTION FOR SUMMARY
                   26                                                    JUDGMENT
                                          Defendants.
                   27

                   28   AND RELATED COUNTERCLAIM
COOLEY LLP
ATTORNEYS AT LAW
                                                                                  STEVENS DEC ISO MOT TO CONTINUE MSJ
                                                                                         CASE NO.: 3:24-CV-02311-TSH
                        Case 3:24-cv-02311-TSH           Document 76-1        Filed 11/11/24       Page 2 of 3



                    1          I, Ryan C. Stevens, hereby declare as follows:

                    2          1.      I am a member in good standing of the State Bar of California and am admitted to

                    3   practice before this Court. I am an associate at the law firm of Cooley LLP, counsel for the City

                    4   and County of San Francisco (“San Francisco”) in the above-captioned action. Pursuant to Civil

                    5   Local Rules 6-3 and 7-11, I make this Declaration in support of San Francisco’s Administrative

                    6   Motion to Continue Hearing on Defendant City of Oakland’s Motion for Summary Judgment. I

                    7   have personal knowledge of the facts contained herein and if called as a witness would and could

                    8   testify competently thereto.

                    9          2.      On November 8, 20204 I met and conferred with counsel for the City of Oakland by

                   10   phone and requested a stipulation to briefly continue the motion for summary judgment so that the

                   11   parties could ascertain whether an order on the motion for preliminary injunction would either moot

                   12   the issue or open a path to resolution that would not require motion practice. I also explained San

                   13   Francisco’s position that it was too early in the case to file for summary judgment because the

                   14   parties had not engaged in discovery. In the alternative I requested a brief continuance as a courtesy.

                   15   The City of Oakland refused to agree a continuance.

                   16          3.      On November 10, 2024, I wrote to counsel for the City of Oakland, asking that

                   17   counsel reconsider their refusal to enter a continuance and again requested a continuance. Given

                   18   the timing of San Francisco’s deadline to oppose, San Francisco explained that they would file this

                   19   administrative motion if they did not hear a response from the City of Oakland by November 11,

                   20   2024 at 12:00 PST. A true and correct copy of my email exchange with counsel for the City of

                   21   Oakland is attached as Exhibit A. As of the time of this filing, the City of Oakland has not

                   22   responded to this communication.

                   23          4.      San Francisco’s opposition to the City of Oakland’s motion for summary judgment

                   24   is due on November 13, 2024, and the hearing is noticed for December 5, 2024.

                   25          5.      The parties have not yet had an initial case management conference, engaged in a

                   26   Rule 26(f) conference, or exchanged initial disclosures.

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COOLEY LLP
ATTORNEYS AT LAW
                                                                                          STEVENS DEC ISO MOT TO CONTINUE MSJ
                                                                                                 CASE NO.: 3:24-CV-02311-TSH
                        Case 3:24-cv-02311-TSH        Document 76-1        Filed 11/11/24   Page 3 of 3



                    1          I declare under penalty of perjury that the foregoing is true and correct. Executed on

                    2   November 11, 2024, in San Francisco, California.

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                                                                                 /S/Ryan Stevens
                    4                                                            Ryan Stevens
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COOLEY LLP
ATTORNEYS AT LAW
                                                                                        STEVENS DEC ISO MOT TO CONT MSJ
                                                                      3                    CASE NO.: 3:24-CV-02311-TSH
